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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTICT OF COLUMBIA


DEMOCRACY FORWARD FOUNDATION,

              Plaintiff,

                      v.                                 Civil Action No. 18-1799 (APM)

U.S. DEPARTMENT OF COMMERCE,

              Defendant.


                                     JOINT STATUS REPORT

        Pursuant to the Court’s February 28, 2019 Order, the parties hereby provide the following

 information to the Court in this Freedom of Information Act (“FOIA”) action.

        Defendant is processing Plaintiff’s September FOIA request (submitted after this lawsuit

 was filed) and is finalizing a first interim release of responsive documents consisting of 1816

 pages. Although Defendant reported on February 28, 2019, that it expected to provide a first

 interim release on or prior to March 29, 2019, the release did not complete the clearance process

 due to a medical condition of one of the officials that clears documents for the Office of the

 Secretary. Defendant envisions finalizing the first interim release by April 8, 2019. Defendant is

 continuing to process responsive documents and envisions providing a second interim release on

 or prior to May 10, 2019.
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       WHEREFORE, the parties propose that the Court establish a date for a further joint status

report on May 15, 2019.

                                            Respectfully submitted,

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